         Case 2:19-cv-04599-ESW Document 1 Filed 07/01/19 Page 1 of 5



 1 TRINETTE G. KENT (State Bar No. 025180)
 2 3219 E Camelback Road, #588
   Phoenix, AZ 85018
 3 Telephone: (480) 247-9644
 4 Facsimile: (480) 717-4781
   E-mail: tkent@lemberglaw.com
 5
 6 Of Counsel to
   Lemberg Law, LLC
 7
   43 Danbury Road
 8 Wilton, CT 06897
   Telephone: (203) 653-2250
 9
   Facsimile: (203) 653-3424
10
11 Attorneys for Plaintiff,
   Anne Detwiler
12
13
                             UNITED STATES DISTRICT COURT
14                            FOR THE DISTRICT OF ARIZONA
15
16
     Anne Detwiler,                        Case No.:
17
18                    Plaintiff,
                                           COMPLAINT
19        vs.
20
     Alpha Recovery Corp.,
21                                         JURY TRIAL DEMANDED
22                    Defendant.
23
24
25
26
27
28
         Case 2:19-cv-04599-ESW Document 1 Filed 07/01/19 Page 2 of 5



 1         Plaintiff, Anne Detwiler (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Alpha Recovery Corp. (hereafter “Defendant”) and
 3
 4 alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
 9         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28
10
     U.S.C. § 1331.
11
12         3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
13 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
14
   where Defendant transacts business in this district.
15
16                                          PARTIES
17         4.     Plaintiff is an adult individual residing in Phoenix, Arizona, and is a
18
     “person” as defined by 1 U.S.C. § 1.
19
20         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
21
           6.     Defendant is a business entity located in Centennial, Colorado, and is a
22
23 “person” as the term is defined by 1 U.S.C. § 1.
24         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
25
     business the principle purpose of which is the collection of debts and/or regularly
26
27 collects or attempts to collect debts owed or asserted to be owed to another, and is a
28 “debt collector” as defined by 15 U.S.C.§ 1692a(6).


                                                 2
         Case 2:19-cv-04599-ESW Document 1 Filed 07/01/19 Page 3 of 5



 1                  ALLEGATIONS APPLICABLE TO ALL COUNTS
 2
           8.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
 3
 4 be owed to a creditor other than Defendant.
 5         9.     Plaintiff’s alleged obligation arises from a transaction in which property,
 6
     services or money was acquired on credit primarily for personal, family or household
 7
 8 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5).
 9
           10.    At all times mentioned herein where Defendant communicated with any
10
11 person via telephone, such communication was done via Defendant’s agent,
12 representative or employee.
13
           11.    In April of 2019, Defendant began calling Plaintiff’s work telephone in
14
15 an attempt to collect a debt.
16         12.    During the initial phone conversation, Plaintiff informed Defendant that
17
     it was calling her on her work phone and requested that Defendant cease all further
18
19 calls to that number.
20
           13.    Ignoring Plaintiff’s request, Defendant continued to call Plaintiff’s work
21
     phone in an excessive and harassing manner.
22
23         14.    In addition, Defendant failed to mail Plaintiff written notice of the
24
     alleged debt following its initial communication with Plaintiff.
25
26         15.    Defendant’s actions caused Plaintiff to suffer a significant amount of

27 stress, anxiety, and annoyance.
28


                                                 3
         Case 2:19-cv-04599-ESW Document 1 Filed 07/01/19 Page 4 of 5



 1                                          COUNT I
 2
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
 3                         U.S.C. § 1692, et seq.
 4
           16.    Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7         17.    The FDCPA was passed in order to protect consumers from the use of
 8
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
 9
10 practices.
11         18.    Defendant attempted to collect a debt from Plaintiff and engaged in
12
     “communications” as defined by 15 U.S.C. § 1692a(2).
13
14         19.    Defendant communicated with Plaintiff at a time or place known to be
15
     inconvenient to the Plaintiff, in violation of 15 U.S.C. § 1692c(a)(1).
16
17         20.    Defendants engages in behavior the natural consequence of which was to

18 harass, oppress, or abuse the Plaintiff in connection with the collection of a debt, in
19
     violation of 15 U.S.C. § 1692d.
20
21         21.    Defendant caused Plaintiff’s phone to ring or engaged Plaintiff in
22 telephone conversations repeatedly or continuously, with the intent to annoy, abuse
23
   and harass Plaintiff, in violation of 15 U.S.C. § 1692d(5).
24
25         22.    Defendant failed to send Plaintiff written notice regarding the alleged
26
     debt within five (5) days after its initial communication with Plaintiff, in violation of
27
     15 U.S.C. § 1692g(a).
28


                                                 4
         Case 2:19-cv-04599-ESW Document 1 Filed 07/01/19 Page 5 of 5



 1         23.   The foregoing acts and/or omissions of Defendant constitute violations of
 2
     the FDCPA, including every one of the above-cited provisions.
 3
 4         24.   Plaintiff was harmed and is entitled to damages as a result of Defendant’s
 5 violations.
 6
                                     PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendant for:
 9               A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
10
                 B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
11
12               C. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
13                  § 1692k(a)(3);
14
                 D. Punitive damages; and
15
16               E. Such other and further relief as may be just and proper.
17
18                  TRIAL BY JURY DEMANDED ON ALL COUNTS
19
20
21 DATED: July 1, 2019                          TRINETTE G. KENT
22                                             By: /s/ Trinette G. Kent
23                                             Trinette G. Kent, Esq.
                                               Lemberg Law, LLC
24                                             Attorney for Plaintiff, Anne Detwiler
25
26
27
28


                                                5
